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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

UNITED STATES OF AMERICA

Vv. NO. 2:19-CR-065-Z
MELISSA LYNN DIETRICH (02)
FACTUAL RESUME

In support of Melissa Lynn Dietrich’s plea of guilty to the offense in Count Three
of the indictment, Dietrich, the defendant, Paul Herrmann, the defendant’s attorney, and
the United States of America (the government) stipulate and agree to the following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count Three of the indictment, charging a
violation of 18 U.S.C. § 4, that is, Misprision of a Felony, the government must prove
each of the following elements beyond a reasonable doubt:

Misprision of a Felony!

First. That a federal felony was committed, as charged in Count One of the
indictment, namely, Conspiracy to Commit Bank Fraud;

Second. That the defendant had knowledge of the commission of the felony;

Third. That the defendant failed to notify an authority as soon as possible;
and

Fourth. That the defendant did an affirmative act, as charged, to conceal the
crime.

 

' Fifth Circuit Pattern Jury Instruction 2.06 (Sth Cir. 2019 ed.).

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An “authority” includes a federal judge or some other person in civil
or military authority under the United States.

Conspiracy to Commit Bank Fraud?

 

First. That the defendant and at least one other person agreed to commit
the crime of bank fraud, as charged in the indictment;

Second. That the defendant knew the unlawful purpose of the agreement and
joined in it willfully, that is, with the intent to further the unlawful
purpose; and

Third. That at least one of the conspirators during the existence of the
conspiracy knowingly committed at least one of the overt acts
described in the indictment, in order to accomplish some object or
purpose of the conspiracy.

Bank Fraud?
First. That the defendant knowingly executed a scheme or artifice;

Second. That the scheme or artifice was executed to obtain money or other
property from a financial institution, as alleged in the indictment;

Third. That the scheme or artifice was executed by means of false or
fraudulent pretenses, representations, or promises; and

Fourth, That the false or fraudulent pretenses, representations, or promises
were material.

STIPULATED FACTS

1, Melissa Lynn Dietrich admits and agrees that from in or around February
2015 and continuing until on or about April 25, 2019, she, having knowledge of the

actual commission of a felony cognizable by a court of the United States, to wit:

 

*Fifth Circuit Pattern Jury Instruction 2.15A (5th Cir. 2019 ed.).
3Fifth Circuit Pattern Jury Instruction 2.58B (Sth Cir. 2019 ed.).

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conspiracy to commit bank fraud, in violation of Title 18, United States Code, Section
371, as alleged in Count One of the indictment, did conceal the same by making
misleading representations to First State Bank regarding the distribution of proceeds from
the sale of American Ag Ventures, Inc.’s crops or products of the crops, and did not as
soon as possible make known the felony to some judge and other person in civil or
military authority under the United States. In violation of Title 18, United States Code,
Section 4.

2. Beginning on or about a date unknown and continuing until on or about
April 25, 2019, in the Amarillo Division of the Northern District of Texas, and elsewhere,
Jonathan Andrew Dietrich did willfully, that is, with the intent to further the objects of
the conspiracy, and knowingly combine, conspire, confederate, or agree with others, to
knowingly and with intent to defraud, execute or cause the execution of, a scheme and
artifice to defraud a financial institution, as defined by 18 U.S.C. § 20, which scheme and
artifice would employ material falsehoods, or to knowingly and with intent to defraud,
execute, or cause the execution of, a scheme and artifice to obtain money, funds, credit,
assets, or other property owned by, or under the custody and control of, a financial
institution, by means of false or fraudulent pretenses, representations, or promises
relating to a material fact, in violation of Title 18, United State Code, Sections 1344(1)
and (2).

3. Jonathan Andrew Dietrich, Melissa Lynn Dietrich, or others owned,
operated, managed, or controlled American Ag Ventures, Inc. (AAVI). AAVI grew and
harvested crops, including wheat, barley, and corn.

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4. First State Bank (FSB) was a financial institution whose accounts were
insured by the Federal Deposit Insurance Corporation.

5. It was the purpose of the conspiracy for Jonathan Andrew Dietrich or his
co-conspirators to unlawfully enrich themselves by, among other things, diverting the
proceeds from the sale of AAVI’s crops for their personal and business use, instead of
remitting the proceeds to FSB.

6. In or around March 2015, FSB and AAVI entered into a loan agreement.
The amount of the note was $2,000,000, and the stated purpose of the loan was for a farm
revolving line of credit (LOC). AAVI agreed to pay the note on demand, or if no demand
was made, AAVI agreed to pay all accrued interest in regular payments beginning on July
3, 2015. Final payment of the entire unpaid outstanding balance of principal and interest
was due on February 3, 2016.

7. The LOC was secured by four separate security agreements. The property
in which AAVI granted FSB a security interest was “all farm products,” including, but
not limited to, “all crops, annual or perennial, and all products of the crops.” It also
included the specific property of 575 acres of organic wheat, 750 acres of organic barley,
and 1,800 acres of organic corn.

8. In the agreement, AAVI granted FSB a security interest in all of its farm
products and all proceeds and products from the farm products. The agreement also placed
limitations on the use of the collateral. AAVI was required to prepare the collateral for
market, and when ready for market, promptly notify FSB and follow any instructions FSB
may have regarding holding, shipping, storing, and marketing the collateral. AAVI was

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prohibited from selling or otherwise transferring the collateral without FSB’s prior written
permission. In the event of a default, AAVI was prohibited from selling the collateral,
even if such sale was in the ordinary course of business.

9. After AAVI grew and harvested crops, Jonathan Andrew Dietrich or his co-
conspirators sold some of the crops to multiple dairies without FSB’s knowledge and
permission. Jonathan Andrew Dietrich or his co-conspirators failed to remit the proceeds
of those crops to FSB. They instead used the proceeds for business and personal
expenses, in violation of the terms of the loan agreement.

10. Jonathan Andrew Dietrich or his co-conspirators also fed some of the
AAVI crops to dairy cattle without FSB’s knowledge and permission. When Jonathan
Andrew Dietrich or his co-conspirators sold the milk produced by these dairy cattle, they
failed to remit the proceeds of the milk to FSB. They instead used the proceeds for
business and personal expenses, in violation of the terms of the loan agreement.

11. Jonathan Andrew Dietrich or his co-conspirators placed FSB at risk of
financial loss as a result of the above-described conspiracy. All in violation of Title 18,
United States Code, Section 371.

12. Melissa Lynn Dietrich admits that she had actual knowledge of Jonathan
Andrew Dietrich’s or other’s conspiracy to commit bank fraud, and that she did not as
soon as possible make known the felony to some judge or other person in civil or military
authority under the United States.

13. Melissa Lynn Dietrich, who was listed as AAVI’s secretary, was
responsible for keeping AAVI’s books. She also signed the loan agreement with FSB as

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AAVI’s secretary and represented that AAVI would prepare the collateral (i.c., all farm
products and all products of the crops) for market, and when ready for market, promptly
notify FSB and follow any instructions FSB may have regarding holding, shipping,
storing, and marketing the collateral. Melissa Lynn Dietrich concealed the commission
of the conspiracy to commit bank fraud, as described above, by making misleading
representations to FBS regarding the distribution of proceeds from the sale of AAVI’s
crops and products of the crops.

14. For example, in April 2015, AAVI started selling milk through a broker,
Triple T Dairy Commodities (Triple T). Triple T brokered the sale of 779 truckloads of
milk for AAVI between April 2015 and August 2016. In total, actual payments from
Triple T to AAVI for milk sales totaled $6,362,562.62. Although AAVI was obligated to
remit the proceeds from the milk sales to FSB, none of the milk revenue was used to
make payments to FSB on the LOC. Melissa Lynn Dietrich concealed these milk sales
from FSB and instead spent the money on other things, including personal expenses.
When an AAVI employee asked Melissa Lynn Dietrich for milk reconciliation reports
from Triple T to account for the actual sales and the deductions shown on the
reconciliations, Melissa Lynn Dietrich refused to provide them. Accordingly, Melissa
Lynn Dietrich made misrepresentations to FSB regarding the proceeds from the sale of

milk, which was a product of AAVI’s crops.

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Accordingly, Melissa Lynn Dietrich made misrepresentations to FSB regarding the

proceeds from the sale of milk, which was a product of AAVI’s crops.

15. The defendant agrees that the defendant committed all the essential

elements of the offense. This factual resume is not intended to be a complete

accounting of all the facts and events related to the offense charged in this case.

The limited purpose of this statement of facts is to demonstrate that a factual

basis exists to support the defendant’s guilty plea to Count Three of the

indictment.

AGREED TO AND STIPULATED on _ this 2! day of

[1 arc FA, 2020.

ERIN NEALY COX

 

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